                          CASE 0:21-cr-00268-SRN-LIB Doc. 7 Filed 12/10/21 Page 1 of 1
                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
     UNITED STATES OF AMERICA,
                                      Plaintiff,         UNDER SEAL
     v.
     ALEXIA GAH GI GAY MARY CUTBANK,             Criminal No. 21-268(2)(SRN/LIB)
                                    Defendant,
                      APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
      (X )Ad Prosequendum          ( )Ad Testificandum

Name of Detainee: ALEXIA GAH GI GAY MARY CUTBANK
Detained at (custodian): ST. LOUIS COUNTY JAIL, DULUTH, MINNESOTA

The government is requesting the U.S. Marshals to transport detainee.

Detainee is:      a.)     (X) charged in this district by: Indictment
                  Charging Detainee With: Murder in the Second Degree, Assault with a Dangerous Weapon,
            and Assault Resulting in Serious Bodily Injury
            or    b.)     () a witness not otherwise available by ordinary process of the Court

Detainee will: a.)                  ( ) return to the custody of detaining facility upon termination of this proceeding
       or      b.)                  ( X ) be retained in federal custody until final disposition of federal charges.

Appearance is necessary on December 10, 2021, via video conference and at a time to be determined, before
the Honorable Katherine M. Menendez, United States Magistrate Judge.

Dated: December 9, 2021                                                                  s/Deidre Y. Aanstad__________________
                                                                                    DEIDRE Y. AANSTAD, AUSA

                                                              WRIT OF HABEAS CORPUS

            (X )Ad Prosequendum                                         ( )Ad Testificandum

The above application is granted and the above-named custodian, as well as the United States marshal for this
district, is hereby ORDERED to produce the named detainee, on the date and time recited above, and any
further proceedings to be had in this case, and at the conclusion of said proceedings to return said detainee to
the above-named custodian.

December 9, 2021                                                                             s/ Katherine M. Menendez
Date                                                                                         UNITED STATES MAGISTRATE JUDGE
Please provide the following, if known:
     A.K.A.(s) (if applicable):                                                                        Gender:           Female
     Booking or Fed. Reg.#:                                                                            DOB:              xx/xx/2001
     Facility Address:                     4334 Haines Road                                            Race:             Native American
                                           Duluth, Minnesota 55811                                     FBI #:
     Facility Phone:                       (218) 726-2345
     Currently Incarcerated For:           DOC Hold, Weapons Offense, DWI, Obstructio
                                                                             RETURN OF SERVICE
Executed on ______________________________________ by __________________________________________ ________________________________________________________________________
                                                                                                                    (Signature)


                                                                                                                       Writ issued 12/10/2021
